UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:
                                                               MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                   Case No. 1:18-MD-02865-LAK
 (SKATTEFORVALTNINGEN) TAX REFUND
 SCHEME LITIGATION

 This document relates to 1:18-CV-05053-LAK.


   DECLARATION OF KARI PARKS IN SUPPORT OF THE GOLDSTEIN LAW
  GROUP PC 401(K) PROFIT SHARING PLAN’S AND SHELDON GOLDSTEIN’S
           MOTION TO DISMISS AMENDED COUNTERCLAIM

          I, Kari Parks, depose and say as follows:
          1.    I am an associate of the law firm Gusrae Kaplan Nusbaum PLLC, which is

counsel for Defendants–Third-Party Plaintiffs–Third-Party Counterclaim Defendants

The Goldstein Law Group PC 401(K) Profit Sharing Plan and Sheldon Goldstein (the

“Goldstein Parties”) in this action.

          2.    I submit this declaration in support of the Goldstein Parties’ Motion to

Dismiss Amended Counterclaim (the “Motion”).

          3.    At approximately 16:00 on Monday, May 18, 2020, I attempted to

electronically file this Motion in the 18-md-2865 docket and spread that entry to the

Goldstein Parties’ own 18-cv-5053 docket.

          4.    In doing so, I received the message, “Error: Answer Due date may not be

reset when spreading to other cases. Go back to the question ‘Does this Answer Due

date need to be reset Y/N?’ And answer ‘N.’”
      5.     Because I had not encountered that question in the filing process, I called

the Southern District of New York’s electronic filing help desk for guidance. A recorded

message instructed me to email the help desk for guidance.

      6.     Consequently, I filed the Motion in the 18-md-2865 docket only and will

pursue guidance from the help desk regarding spreading the Motion to the Goldstein

Parties’ 18-cv-5053 docket.

      7.     Annexed as Exhibit 1 is a true and correct copy of the Amended

Particulars of Claim filed by Plaintiff Skatteforvaltningen (“SKAT”) on or around

March 13, 2019, in the English case captioned Skatteforvaltningen v. Solo Capital

Partners LLP et al., CL-2018-000297, CL-2018-000404, CL-2018-000590 (the “English

Action”).

      8.     Annexed as Exhibit 2 is a true and correct copy of the Further Particulars

Regarding the Validity of WHT Refund Applications filed by SKAT in the English

Action on or around February 28, 2020.

      9.     Annexed as Exhibit 3 is a true and correct copy of the Re-Amended

Schedule 5T filed by SKAT on or around February 28, 2020 in the English Action.

      10.    Annexed as Exhibit 4 is a true and correct copy of the Amended

Counterclaims of Third-Party Defendant ED&F Man Capital Markets, Ltd. ¶ 29, Dkt.

323, 18-md-2865 (Apr. 20, 2020), which the Goldstein Parties move to dismiss.




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      11.    Annexed as Exhibit 5 are the following unpublished and foreign cases,

which the Goldstein Parties cite in their memorandum in support of their Motion:

      a. Ades v. Deloitte & Touche, Nos. 90 Civ. 4959(RWS), 90 Civ. 5056(RWS), 1993
         WL 362364 (S.D.N.Y. Sept. 17, 1993) (Sweet, J.)
      b. Anderson v. Greyhound Lines, Inc., No. 06 Civ. 13371 GBD, 2011 WL 3480945
         (S.D.N.Y. Aug. 3, 2011) (Daniels, J.)
      c. Barbagallo v. Marcum LLP, No. 11-CV-1358, 2012 WL 1664238 (S.D.N.Y. May
         11, 2012) (Weinstein, J.)
      d. Bd. of Trustees of S. California IBEW-NECA Defined Contribution Plan v.
         Bank of New York Mellon Corp., No. 09 CIV. 6273 RMB, 2011 WL 6130831
         (S.D.N.Y. Dec. 9, 2011) (Berman, J.)
      e. Canada Steamship Lines Ltd v. The King [1952] AC 192
      f. Capita (Banstead 2011) Ltd v. RFIB Grp. Ltd [2015] EWCA Civ 1310
      g. CBS Corp. v. Eaton Corp., No. 07 Civ. 11344 (LBS), 2010 WL 1375169
         (S.D.N.Y. Mar. 30, 2010) (Sand, J.)
      h. The Charter Oak Fire Ins. Co. v. Bolding, No. 08-CV-02632 (KAM), 2009 WL
         3246116 (E.D.N.Y. Oct. 1, 2009) (Matsumoto, J.)
      i. Colodney v. Continuum Health Partners, Inc., No. 03 Civ. 7276, 2004 WL
         829158 (S.D.N.Y. Apr. 16, 2004) (Cote, J.)
      j. Convergent Wealth Advisors LLC v. Lydian Holding Co., No. 12 CIV 1199,
         2012 WL 2148221 (S.D.N.Y. June 13, 2012) (Scheindlin, J.)
      k. DeBlasio v. Merrill Lynch & Co, Inc., No. 07 Civ. 318(RJS), 2009 WL 2242605
         (S.D.N.Y. 2009) (Sullivan, J.)
      l. FSP, Inc. v. Societe Generale, No. 02 Civ. 4786, 2003 WL 124515 (S.D.N.Y. Jan.
         14, 2003) (Daniels, J.)
      m. Handelsbanken v. Dandridge [2002] EWCA Civ 577
      n. IIG Capital LLC v. Van Der Mew & Anr [2008] EWCA Civ 542
      o. In re Richartz, Fliss, Clark & Pope, Inc., Bankr. No. 08-13919 (MG), 2010 WL
         4502038 (Bankr. S.D.N.Y. Nov. 1, 2010) (Glenn, B.J.)
      p. Smith v. South Wales Switchgear [1968] 1 All ER 18
      q. The White Rose [1969] 1 WLR 1098
      r. Tokio Marine and Fire Ins. Co., Ltd. v. Grodin, 05 Civ. 9153 (DLC), 2006 WL
         3054321 (S.D.N.Y. Oct. 27, 2006) (Cote, J.)
      s. Travelers Property Cas. Corp. v. Winterthur Int’l, No. 02 Civ. 2406(SAS), 2002
         WL 1391920 (S.D.N.Y. June 25, 2002) (Scheindlin, J.)
      t. U.S. Bank Nat. Ass’n v. Commonwealth Land Title Ins. Co., No. 13 Civ. 7626
         NRB, 2015 WL 1291151 (S.D.N.Y. Mar. 23, 2015) (Buchwald, J.)
      u. Waite v. Paccar Financial PLC [2012] EWCA Civ. 901




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     I declare under penalty of perjury that the foregoing is true and correct.


Dated: May 18, 2020
      New York, New York


                                               /s/ Kari Parks




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